Se 2:23-cr-20037-JJCG-EAS ECF No. 18, PagelD.104 Filed 01/18/23 Page 1 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA, Case:2:23-cr-20037
Judge: Borman, Paul D.

MJ: Stafford, Elizabeth A.
Filed: 01-18-2023 At 01:15 PM
INDI USA V HASSAN YEHIA CHOKR (LG)

HASSAN YEHIA CHOKR, Violations:
18 U.S.C. § 922(g)(1)
Defendant. 18 U.S.C. § 922(a)(6)

INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
18 U.S.C. § 922(g)(1)

Felon in Possession of a Firearm

On or about December 2, 2022, in the Eastern District of Michigan, the
defendant, HASSAN YEHIA CHOKR, knowing that he had previously been
convicted of a crime punishable by imprisonment for a term exceeding one year,
knowingly possessed, in and affecting interstate commerce, a firearm, that is: (1) a
Glock, model 19 gen4, 9mm semi-automatic pistol; (2) a Del-ton, model DTI15,

5.56x45 Nato rifle; (3) a Landor Arms, model BPX902, 12-gauge semi-automatic

shotgun, in violation of Title 18, United States Code, Section 922(g)(1).

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COUNT TWO
18 U.S.C. § 922(a)(6)
False Statement during the Attempted Acquisition of a Firearm

On or about December 2, 2022, in the Eastern District of Michigan, the
defendant, HASSAN YEHIA CHOKR, in connection with the attempted
acquisition of a firearm, that is: (1) a Glock, model 19 gen4, 9mm semi-automatic
pistol; (2) a Del-ton, model DTT15, 5.56x45 Nato rifle; and (3) a Landor Arms,
model BPX902, 12-gauge semi-automatic shotgun, from Dearborn Outdoors, a
licensed firearms dealer within the meaning of Chapter 44, Title 18, United States
Code, knowingly made a false and fictitious written statement to Dearborn
Outdoors, which statement was intended and likely to deceive Dearborn Outdoors,
as to a fact material to the lawfulness of such acquisition of the said firearm to the
defendant, by indicating on the Bureau of Alcohol, Tobacco, Firearms and
Explosives Form 4473 (Firearms Transaction Record) that he was not under
information in any court for a felony, had never been convicted in any court ofa
felony, and had never been committed to a mental institution, all in violation of

Title 18, United States Code, Section 922(a)(6).

(signatures on following page)

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THIS IS A TRUE BILL

s/Grand Jury Foreperson

GRAND JURY FOREPERSON

DAWN N. ISON
United States Attorney

s/David A. Gardey

DAVID A. GARDEY
Chief, Public Corruption and Civil Rights Unit

s/Frances Lee Carlson

FRANCES LEE CARLSON
Assistant United States Attorney

Dated: January 18, 2023

Case 2:23-cr-20037-JJCG-EAS ECF No. 18, PagelD.107 Filed 01/18/23 Page 4 of 4

United States District Court Criminal Case Cove §case:2:23-cr-20037
Eastern District of Michigan Judge: Borman, Paul D.

MJ: Stafford, Elizabeth A.
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to comple Filed: 01-18-2023 At 01:15 PM

INDI USA V HASSAN YEHIA CHOKR (LG)

"1 Companion Case Number:

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This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:

Ll ves No AUSA’s Initials: _ fic
Case Title: USA v. Hassan Yehia Chokr 4

County where offense occurred : Wayne Jo

Check One: [X] Felony [Misdemeanor [IPetty
Indictment/ Information --- no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 22-mj-30527 ]
Indictment/ Information —- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

L
Please take notice that the below listed Assistant United States Attorney is the/attorney of record for

the above captioned case.
January 18, 2023
Date Frances Lee Carlson
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, M! 48226-3277

Phone: 313-226-9696
E-Mail address: frances.carlson@usdoj.gov

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

5/16

